               Case 3:13-cr-04514-JO                    Document 616                  Filed 09/14/16             PageID.5542           Page 1 of 5
  {.   ~AO 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case                                                                       F~lED
                  Sheet 1




                                               UNITED STATES DISTRICT COURT                                                  CLERK, U.S. DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA                                        ~~UTHERN DISTRiCT OF .lg=E~~r:;.
                      UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                           (For Offenses Committed On or After November I, 1987)

                            ISAAC BALLESTEROS (3)                                     Case Number: 13CR4514-BEN
                                                                                      VICTOR N. PIPPINS
                                                                                      Defendant's Attorney
       REGISTRATION NO. 41289298

       o
       o
       THE DEFENDANT:
           pleaded guilty to connt(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

       181 was found guilty on count(s) I AND 2 OF THE INDICTMENT.
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such connt(s), which involve the following offense(s):
                                                                                                                                             Connt
       Title & Section                        Nature of Offense                                                                             Nnmberfsl
18 USC 1962(d)                         CONSPIRACY TO CONDUCT ENTERPRISE AFFAIRS THROUGH A                                                         I
                                      PATTERN OF RACKETEERING ACTNITY
21 USC 841(a)(I),                      CONSPIRACY TO DISTRIBUTE CONTROLLED SUBSTANCES                                                             2
841(b)(l)(A)(vii),
841(b)(I)(B)(i) and 846




        The defendant is sentenced as provided in pages 2 through                 5             of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 o     The defendant has been found not guilty on count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 o     Count(s)                                                                        is   0      areO dismissed on the motion of the United States.
 181 Assessment: $200.00 ($100 per count) forthwith or through the Imnate Financial Responsibility Program (IFRP) at the rate of not less than
       $25.00 per quarter during the period of incarceration.



  D Fine waived                                     o    Forfeiture pursuant to order filed _ _ _ _ _ _ _ _ _ , included herein.
        IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney of any material change in the defendant's economic circumstances.




                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                               13CR4514-BEN
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          •
     AD 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
                 Sheet 2 - Imprisonment

                                                                                                   Judgment - Page   _..:2,-- of    5
      DEFENDANT: ISAAC BALLESTEROS (3)
      CASE NUMBER: 13CR4514-BEN
                                                               IMPRISONMENT
              The defendant is hereby connnitted to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
               COUNT I: THREE HUNDRED AND SIXTY (360) MONTHS;
               COUNT 2: THREE HUNDRED AND SIXTY (360) MONTHS CONCURRENT TO COUNT 1.


         D Sentence imposed pursuant to Title 8 USC Section 1326(b).
         181 The court makes the following reconnnendations to the Bureau of Prisons:
               DEFENDANT BE ALLOWED TO PARTICIPATE IN THE 500-HOUR DRUG TREATMENT PROGRAM.

              DEFENDANT BE INCARCERATED WITHIN THE WESTERN REGION OF THE UNITED STATES.


         D The defendant is remanded to the custody of the United States Marshal.
         D The defendant shall surrender to the United States Marshal for this district:
                DM _____________ Da.m.                          Dp.m.        on _ _ _ _ _ _ _ _ _ _ __

                    as notified by the United States Marshal.

         D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
            D before
                     ------------------------------------------------------------
            D as notified by the United States Marshal.
               D as notified by the Probation or Pretrial Services Office.

                                                                  RETURN

     I have executed this judgment as follows:

              Defendant delivered on                                                 to

     at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                 UNITEDSTATES~HAL




                                                                        By _______~~~~~~~~~~-------
                                                                                              DEPUTY UNITED STATES MARSHAL




                                                                                                                            13CR4514-BEN
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.~   A0245B(CASD) (Rev. 12/11) Judgment in a Criminal Case
                     Sheet 3 - Supervised Release
                                                                                                                    ludgment-Page __3__ of _ _,,5_ __
     DEFENDANT: ISAAC BALLESTEROS (3)                                                                       II
     CASE NUMBER: 13CR4514-BEN
                                                               SUPERVISED RELEASE
     Upon release from imprisonment, the defendant shall be on supervised release for a term of:
     COUNT 1: FIVE (5) YEARS;
     COUNT 2: TEN (10) YEARS CONCURRENT TO COUNT 1.
              The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
     the custody of the Bureau of Prisons.                                                                                      .
     The defendant shall not commit another federal, state or local crime.
     For offenses committed on or after September 13, 1994:
     The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use ofa controlled
     substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
     thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
     the term of supervision, unless otherwise ordered by court.                                          --

     o      The above drug testing condition is suspended, based on the court's detennination that the defendant poses a low risk of
            future substance abuse. (Check, if applicable.)

            The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
            The defendant shall cooperate in the collection of a DNA sample from the defendant, pursuant to section 3 of the DNA Analysis
            Backlog Elimination Act of2000, pursuant to 18 USC sections 3563(a)0) and 3583(d).
            The defendant shall comply with llie requirements of the Sex Offender Registration and Notification Act (42 U.S.C. § 16901, et seq.) as directed
            by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
            was convicted of a qualifying offense. (Check if applicable.)
     o      The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)
               If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fme
     or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
     forth in this judgment.
              The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
     any special conditions imposed.

                                               STANDARD CONDITIONS OF SUPERVISION
       1)       the defendant shall not leave the judicial district without the permission of the court or probation officer;
      2)        the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
      3)        the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
      4)        the defendant shall support his or her dependents and meet other family responsibilities;
      5)        the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
                acceptable reasons;
      6)        the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
      7)        the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
                controlled substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
      8)        the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
      9)        the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
                a felony, unless granted permission to do so by the probation officer;
     10)        the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
                contraband observed in plain view of the probation officer;
     11)        the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
     12)        the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
                permission of the court; and
     13)        as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's criminal
                record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
                defendant's compliance with such notification requirement.

                                                                                                                                            13CR4514-BEN
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 .~       AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                       Sheet 4 - Special Conditions
                                                                                                           Judgment-Page _ _4_ of _ _5,-_ _
          DEFENDANT: ISAAC BALLESTEROS (3)
          CASE NUMBER: 13CR4514-BEN




                                                  SPECIAL CONDITIONS OF SUPERVISION
~ Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable time and in a
      reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition of release; failure to submit to a
      search may be grounds for revocation; the defendant shall warn any other residents that the premises may be subject to searches pursuant to
      this condition.                                                                                                                              II
D If deported, excluded, or allowed to voluntarily return to country of origin, not reenter the United States illegally and report to the probation
      officer within 24 hours of any reentry to the United States; supervision waived upon deportation, exclusion or voluntary departure.
D Not transport, harbor, or assist undocumented aliens.
D Not associate with undocumented aliens or alien smugglers.
D Not reenter the United States illegally.
~ Not enter or reside in the Republic of Mexico without written permission of the Court or probation officer.
~ Report all vehicles owned or operated, or in which you have an interest, to the probation officer.
D Not possess any narcotic drug or controlled substance without a lawful medical prescription.
D Not associate with known users of, smugglers of, or dealers in narcotics, controlled substances, or dangerous drugs in any form.
D Participate in a program of mental health treatment as directed by the probation officer, take all medications as prescribed by a
      psychiatrist/physician, and not discontinue any medication without permission. The Court authorizes the release of the presentence report
      and available psychological evaluations to the mental health provider, as approved by the probation officer. Allow for reciprocal release of
      information between the probation officer and the treatment provider. Is required to contribute to the costs of services rendered in an amount
      to be determined bv the probation officer. based on the defendant's ability to pav.                                                           II
181 Shall not associate with any member, prospect, or associate of the ("OTNC," "Mexican Mafia,") or any other gang, or club with a history of
      criminal activity, unless given permission by the probation officer.                                                                              II
D Provide complete disclosure of personal and business fmancial records to the probation officer as requested.
181 Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a gang, unless given
      permission by the probation officer.
D Seek and maintain full time employment and/or schooling or a combination of both.
D Resolve all outstanding warrants within            days.
D Complete             hours of community service in a program approved by the probation officer within
D Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a period of
181 Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
      probation officer. Allow for reciprocal release of information between the probation officer and the treatment provider. Is required to
      contribute to the costs of se':'Vices rendered in an amount to be detennined by the probation officer, based on the defendant's ability to pay.

181 Excluding conduct made reasonably necessary while in custody, defendant shall not loiter, or be present in locations known to be areas
      where gang members congregate, unless given permission by the probation officer.




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                    Case 3:13-cr-04514-JO                     Document 616      Filed 09/14/16         PageID.5546           Page 5 of 5

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        AD 245S       Judgment in Criminal Case
                      Sheet 5 - Criminal Monetary Penalties

                                                                                                            Judgment - Page _...;5:-_ of   5

        DEFENDANT: ISAAC BALLESTEROS (3)                                                             D
        CASE NUMBER: 13CR4514-BEN
                                                                             FINE

              The defendant shall pay a fme in the amount of ____$_I'--,O_O_O._O_O_ _ _un,to the United States of America.




                  This snm shall be paid __ immediately.
                                          " as follows:

                   Forthwith or through the Inmate Financial Responsibility Program (IFRP) at the rate of not less than $25.00 per
                   quarter during the period of incarceration.




                  The Court has determined that the defendant _d=:o:.:e=.s_ _ have the ability to pay interest. It is ordered that:

           ~ The interest requirement is waived.


                   The interest is modified as follows:




                                                                                                          13CR4514-BEN
